             Case MDL No. 2804 Document 6360 Filed 11/29/19 Page 1 of 1



                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTI-DISTRICT LITIGATION

IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION

MDL NO. 2804

                         NOTICE OF POTENTIAL TAG-ALONG ACTION

         In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Defendants Mallinckrodt LLC and SpecGx LLC write to notify

the Clerk of the Panel of the potential tagalong action listed on the attached Schedule of Actions. 1

         The docket sheet and complaint are attached.



Dated: November 29, 2019                               Respectfully submitted:

                                              By:      /s/ Brien T. O’Connor
                                                       Brien T. O’Connor
                                                       Ropes & Gray LLP
                                                       800 Boylston Street
                                                       Boston, Massachusetts 02199
                                                       Tel: (617) 951-7000
                                                       Fax: (617) 951-7050
                                                       Brien.O’Connor@ropesgray.com

                                                       Counsel for Defendants Mallinckrodt LLC and
                                                       SpecGx LLC




1
  In identifying the potential tag-along actions, Defendants preserve all available defenses, including defenses related
to the lack of, or deficient, service.
